          Case 17-42076               Doc 54             Filed 05/16/19 Entered 05/16/19 17:11:18                                        Desc Main
                                                          Document     Page 1 of 40

 Fill in this information to identify your case:
 United States Bankruptcy Court for the:
 EASTERN DISTRICT OF TEXAS

 Case number (if known): 17-42076                             Chapter you are filing under:
                                                                        Chapter 7
                                                                        Chapter 11
                                                                        Chapter 12
                                                                                                                               Check if this is an
                                                                        Chapter 13
                                                                                                                               amended filing



Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                 12/17

The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case
together--called a joint case--and in joint cases, these forms use you to ask for information from both debtors. For example, if
a form asks, "Do you own a car," the answer would be yes if either debtor owns a car. When information is needed about the
spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish between them. In joint cases, one of the spouses
must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.



 Part 1:       Identify Yourself
                                       About Debtor 1:                                        About Debtor 2 (Spouse Only in a Joint Case):
1.   Your full name
     Write the name that is on your
                                       Glenn                                                  Amanda
     government-issued picture
                                       First Name                                             First Name
     identification (for example,
     your driver's license or          C.                                                     L.
     passport).                        Middle Name                                            Middle Name

                                       Griswold                                               Griswold
     Bring your picture                Last Name                                              Last Name
     identification to your meeting
     with the trustee.                 Suffix (Sr., Jr., II, III)                             Suffix (Sr., Jr., II, III)


2.   All other names you
     have used in the last 8           First Name                                             First Name
     years
                                       Middle Name                                            Middle Name
     Include your married or
     maiden names.
                                       Last Name                                              Last Name


3.   Only the last 4 digits of
     your Social Security              xxx – xx –                   9        3       0    7   xxx – xx –                   5         3        0      0
     number or federal                 OR                                                     OR
     Individual Taxpayer
     Identification number             9xx – xx –                                             9xx – xx –
     (ITIN)




Official Form 101                            Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 1
           Case 17-42076         Doc 54             Filed 05/16/19 Entered 05/16/19 17:11:18                                    Desc Main
                                                     Document     Page 2 of 40
Debtor 1     Glenn C. Griswold
Debtor 2     Amanda L. Griswold                                                             Case number (if known) 17-42076

                                   About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names                    I have not used any business names or EINs.                 I have not used any business names or EINs.
     and Employer
     Identification Numbers
     (EIN) you have used in        Business name                                                Business name
     the last 8 years
                                   Business name                                                Business name
     Include trade names and
     doing business as names
                                   Business name                                                Business name

                                                –                                                           –
                                   EIN                                                          EIN

                                                –                                                           –
                                   EIN                                                          EIN
5.   Where you live                                                                             If Debtor 2 lives at a different address:

                                   114 Pineridge Circle                                         2614 Butterfield Trail
                                   Number       Street                                          Number      Street




                                   Sherman                         TX       75092               Sherman                        TX       75092
                                   City                            State    ZIP Code            City                           State    ZIP Code

                                   Grayson                                                      Grayson
                                   County                                                       County

                                   If your mailing address is different from                    If Debtor 2's mailing address is different
                                   the one above, fill it in here. Note that the                from yours, fill it in here. Note that the court
                                   court will send any notices to you at this                   will send any notices to you at this mailing
                                   mailing address.                                             address.

                                                                                                2614 Butterfield Trail
                                   Number       Street                                          Number      Street


                                   P.O. Box                                                     P.O. Box

                                                                                                Sherman                        TX       75092
                                   City                            State    ZIP Code            City                           State    ZIP Code


6.   Why you are choosing          Check one:                                                   Check one:
     this district to file for
     bankruptcy                            Over the last 180 days before filing this                   Over the last 180 days before filing this
                                           petition, I have lived in this district longer              petition, I have lived in this district longer
                                           than in any other district.                                 than in any other district.

                                           I have another reason. Explain.                             I have another reason. Explain.
                                           (See 28 U.S.C. § 1408.)                                     (See 28 U.S.C. § 1408.)


 Part 2:       Tell the Court About Your Bankruptcy Case

7.   The chapter of the           Check one: (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing
     Bankruptcy Code you          for Bankruptcy (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     are choosing to file
     under                                Chapter 7

                                          Chapter 11

                                          Chapter 12

                                          Chapter 13



Official Form 101                         Voluntary Petition for Individuals Filing for Bankruptcy                                                      page 2
           Case 17-42076        Doc 54         Filed 05/16/19 Entered 05/16/19 17:11:18                                Desc Main
                                                Document     Page 3 of 40
Debtor 1     Glenn C. Griswold
Debtor 2     Amanda L. Griswold                                                      Case number (if known) 17-42076

8.   How you will pay the fee          I will pay the entire fee when I file my petition. Please check with the clerk's office in your local
                                       court for more details about how you may pay. Typically, if you are paying the fee yourself, you may
                                       pay with cash, cashier's check, or money order. If your attorney is submitting your payment on your
                                       behalf, your attorney may pay with a credit card or check with a pre-printed address.

                                       I need to pay the fee in installments. If you choose this option, sign and attach the Application for
                                       Individuals to Pay The Filing Fee in Installments (Official Form 103A).

                                       I request that my fee be waived (You may request this option only if you are filing for Chapter 7.
                                       By law, a judge may, but is not required to, waive your fee, and may do so only if your income is less
                                       than 150% of the official poverty line that applies to your family size and you are unable to pay the
                                       fee in installments). If you choose this option, you must fill out the Application to Have the Chapter 7
                                       Filing Fee Waived (Official Form 103B) and file it with your petition.


9.   Have you filed for                No
     bankruptcy within the
     last 8 years?                     Yes.

                                  District                                               When                    Case number
                                                                                                MM / DD / YYYY
                                  District                                               When                    Case number
                                                                                                MM / DD / YYYY

                                  District                                               When                    Case number
                                                                                                MM / DD / YYYY

10. Are any bankruptcy                 No
    cases pending or being
    filed by a spouse who is           Yes.
    not filing this case with
                                  Debtor                                                             Relationship to you
    you, or by a business
    partner, or by an             District                                               When                    Case number,
    affiliate?                                                                                  MM / DD / YYYY   if known


                                  Debtor                                                             Relationship to you

                                  District                                               When                    Case number,
                                                                                                MM / DD / YYYY   if known

11. Do you rent your                   No.    Go to line 12.
    residence?                         Yes. Has your landlord obtained an eviction judgment against you?

                                                   No. Go to line 12.
                                                   Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A)
                                                   and file it as part of this bankruptcy petition.




Official Form 101                       Voluntary Petition for Individuals Filing for Bankruptcy                                          page 3
           Case 17-42076             Doc 54       Filed 05/16/19 Entered 05/16/19 17:11:18                              Desc Main
                                                   Document     Page 4 of 40
Debtor 1     Glenn C. Griswold
Debtor 2     Amanda L. Griswold                                                        Case number (if known) 17-42076


 Part 3:      Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor             No. Go to Part 4.
    of any full- or part-time             Yes. Name and location of business
    business?

    A sole proprietorship is a
                                                Name of business, if any
    business you operate as an
    individual, and is not a
    separate legal entity such as               Number     Street
    a corporation, partnership, or
    LLC.

    If you have more than one                   City                                                    State          ZIP Code
    sole proprietorship, use a
    separate sheet and attach it                Check the appropriate box to describe your business:
    to this petition.
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under             If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it
    Chapter 11 of the                can set appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
    Bankruptcy Code and              most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return
    are you a small business         or if any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
    debtor?
                                          No.   I am not filing under Chapter 11.

                                          No.   I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in
    For a definition of small
                                                the Bankruptcy Code.
    business debtor, see
    11 U.S.C. § 101(51D).                 Yes. I am filing under Chapter 11 and I am a small business debtor according to the definition in the
                                               Bankruptcy Code.


 Part 4:      Report If You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any                No
    property that poses or is             Yes. What is the hazard?
    alleged to pose a threat of
    imminent and identifiable
    hazard to public health or
    safety? Or do you own
    any property that needs                     If immediate attention is needed, why is it needed?
    immediate attention?

    For example, do you own
    perishable goods, or
    livestock that must be fed, or              Where is the property?
    a building that needs urgent                                           Number   Street
    repairs?



                                                                           City                                     State         ZIP Code




Official Form 101                          Voluntary Petition for Individuals Filing for Bankruptcy                                          page 4
           Case 17-42076            Doc 54         Filed 05/16/19 Entered 05/16/19 17:11:18                               Desc Main
                                                    Document     Page 5 of 40
Debtor 1     Glenn C. Griswold
Debtor 2     Amanda L. Griswold                                                          Case number (if known) 17-42076


 Part 5:       Explain Your Efforts to Receive a Briefing About Credit Counseling
15. Tell the court          About Debtor 1:                                              About Debtor 2 (Spouse Only in a Joint Case):
    whether you             You must check one:                                          You must check one:
    have received a           I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about            counseling agency within the 180 days before I               counseling agency within the 180 days before I
    credit                    filed this bankruptcy petition, and I received a             filed this bankruptcy petition, and I received a
    counseling.               certificate of completion.                                   certificate of completion.
                               Attach a copy of the certificate and the payment             Attach a copy of the certificate and the payment
    The law requires           plan, if any, that you developed with the agency.            plan, if any, that you developed with the agency.
    that you receive a
                               I received a briefing from an approved credit                I received a briefing from an approved credit
    briefing about credit
                               counseling agency within the 180 days before I               counseling agency within the 180 days before I
    counseling before
                               filed this bankruptcy petition, but I do not have            filed this bankruptcy petition, but I do not have
    you file for
                               a certificate of completion.                                 a certificate of completion.
    bankruptcy. You
    must truthfully            Within 14 days after you file this bankruptcy petition,      Within 14 days after you file this bankruptcy petition,
    check one of the           you MUST file a copy of the certificate and payment          you MUST file a copy of the certificate and payment
    following choices.         plan, if any.                                                plan, if any.
    If you cannot do so,       I certify that I asked for credit counseling                 I certify that I asked for credit counseling
    you are not eligible       services from an approved agency, but was                    services from an approved agency, but was
    to file.                   unable to obtain those services during the 7                 unable to obtain those services during the 7
                               days after I made my request, and exigent                    days after I made my request, and exigent
    If you file anyway,        circumstances merit a 30-day temporary                       circumstances merit a 30-day temporary
    the court can              waiver of the requirement.                                   waiver of the requirement.
    dismiss your case,
    you will lose              To ask for a 30-day temporary waiver of the                  To ask for a 30-day temporary waiver of the
    whatever filing fee        requirement, attach a separate sheet explaining what         requirement, attach a separate sheet explaining what
    you paid, and your         efforts you made to obtain the briefing, why you             efforts you made to obtain the briefing, why you
    creditors can begin        were unable to obtain it before you filed for                were unable to obtain it before you filed for
    collection activities      bankruptcy, and what exigent circumstances                   bankruptcy, and what exigent circumstances
    again.                     required you to file this case.                              required you to file this case.

                               Your case may be dismissed if the court is                   Your case may be dismissed if the court is
                               dissatisfied with your reasons for not receiving a           dissatisfied with your reasons for not receiving a
                               briefing before you filed for bankruptcy.                    briefing before you filed for bankruptcy.

                               If the court is satisfied with your reasons, you must        If the court is satisfied with your reasons, you must
                               still receive a briefing within 30 days after you file.      still receive a briefing within 30 days after you file.
                               You must file a certificate from the approved agency,        You must file a certificate from the approved agency,
                               along with a copy of the payment plan you                    along with a copy of the payment plan you
                               developed, if any. If you do not do so, your case            developed, if any. If you do not do so, your case
                               may be dismissed.                                            may be dismissed.

                               Any extension of the 30-day deadline is granted only         Any extension of the 30-day deadline is granted only
                               for cause and is limited to a maximum of 15 days.            for cause and is limited to a maximum of 15 days.

                               I am not required to receive a briefing about                I am not required to receive a briefing about
                               credit counseling because of:                                credit counseling because of:
                                   Incapacity.    I have a mental illness or a mental           Incapacity.    I have a mental illness or a mental
                                                  deficiency that makes me                                     deficiency that makes me
                                                  incapable of realizing or making                             incapable of realizing or making
                                                  rational decisions about finances.                           rational decisions about finances.
                                   Disability.    My physical disability causes me              Disability.    My physical disability causes me
                                                  to be unable to participate in a                             to be unable to participate in a
                                                  briefing in person, by phone, or                             briefing in person, by phone, or
                                                  through the internet, even after I                           through the internet, even after I
                                                  reasonably tried to do so.                                   reasonably tried to do so.
                                   Active duty. I am currently on active military               Active duty. I am currently on active military
                                                duty in a military combat zone.                              duty in a military combat zone.
                               If you believe you are not required to receive a             If you believe you are not required to receive a
                               briefing about credit counseling, you must file a            briefing about credit counseling, you must file a
                               motion for waiver of credit counseling with the court.       motion for waiver of credit counseling with the court.


Official Form 101                           Voluntary Petition for Individuals Filing for Bankruptcy                                          page 5
           Case 17-42076           Doc 54         Filed 05/16/19 Entered 05/16/19 17:11:18                              Desc Main
                                                   Document     Page 6 of 40
Debtor 1     Glenn C. Griswold
Debtor 2     Amanda L. Griswold                                                        Case number (if known) 17-42076


 Part 6:      Answer These Questions for Reporting Purposes
16. What kind of debts do you      16a.    Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8)
    have?                                  as "incurred by an individual primarily for a personal, family, or household purpose."
                                                 No. Go to line 16b.
                                                 Yes. Go to line 17.

                                   16b.    Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                                No. Go to line 16c.
                                                Yes. Go to line 17.

                                   16c.    State the type of debts you owe that are not consumer or business debts.


17. Are you filing under
    Chapter 7?                            No.   I am not filing under Chapter 7. Go to line 18.

    Do you estimate that after            Yes. I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and
    any exempt property is                     administrative expenses are paid that funds will be available to distribute to unsecured creditors?
    excluded and
    administrative expenses                          No
    are paid that funds will be
                                                     Yes
    available for distribution
    to unsecured creditors?

18. How many creditors do                 1-49                             1,000-5,000                        25,001-50,000
    you estimate that you                 50-99                            5,001-10,000                       50,001-100,000
    owe?                                  100-199                          10,001-25,000                      More than 100,000
                                          200-999

19. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your assets to               $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be worth?                             $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million          More than $50 billion

20. How much do you                       $0-$50,000                       $1,000,001-$10 million             $500,000,001-$1 billion
    estimate your liabilities to          $50,001-$100,000                 $10,000,001-$50 million            $1,000,000,001-$10 billion
    be?                                   $100,001-$500,000                $50,000,001-$100 million           $10,000,000,001-$50 billion
                                          $500,001-$1 million              $100,000,001-$500 million          More than $50 billion




Official Form 101                         Voluntary Petition for Individuals Filing for Bankruptcy                                        page 6
           Case 17-42076      Doc 54            Filed 05/16/19 Entered 05/16/19 17:11:18                                  Desc Main
                                                 Document     Page 7 of 40
Debtor 1     Glenn C. Griswold
Debtor 2     Amanda L. Griswold                                                        Case number (if known) 17-42076


 Part 7:      Sign Below
For you                           I have examined this petition, and I declare under penalty of perjury that the information provided is true
                                  and correct.

                                  If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11, 12,
                                  or 13 of title 11, United States Code. I understand the relief available under each chapter, and I choose to
                                  proceed under Chapter 7.

                                  If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me
                                  fill out this document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                  I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                  I understand making a false statement, concealing property, or obtaining money or property by fraud in
                                  connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years,
                                  or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


                                  X /s/ Glenn C. Griswold                                     X /s/ Amanda L. Griswold
                                     Glenn C. Griswold, Debtor 1                                 Amanda L. Griswold, Debtor 2

                                     Executed on 05/16/2019                                      Executed on 05/16/2019
                                                 MM / DD / YYYY                                              MM / DD / YYYY




Official Form 101                       Voluntary Petition for Individuals Filing for Bankruptcy                                             page 7
           Case 17-42076        Doc 54         Filed 05/16/19 Entered 05/16/19 17:11:18                                 Desc Main
                                                Document     Page 8 of 40
Debtor 1     Glenn C. Griswold
Debtor 2     Amanda L. Griswold                                                       Case number (if known) 17-42076

For your attorney, if you are     I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about
represented by one                eligibility to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the
                                  relief available under each chapter for which the person is eligible. I also certify that I have delivered to
If you are not represented by     the debtor(s) the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b)(4)(D) applies,
an attorney, you do not need      certify that I have no knowledge after an inquiry that the information in the schedules filed with the petition
to file this page.                is incorrect.



                                  X /s/ Richard Pelley                                                  Date 05/16/2019
                                     Signature of Attorney for Debtor                                        MM / DD / YYYY


                                     Richard Pelley
                                     Printed name
                                     Pelley Law Offices
                                     Firm Name
                                     905 North Travis Street
                                     Number          Street




                                     Sherman                                                    TX              75090
                                     City                                                       State           ZIP Code


                                     Contact phone (903) 813-4778                     Email address richard.pelley@verizon.net


                                     15732500                                                   TX
                                     Bar number                                                 State




Official Form 101                       Voluntary Petition for Individuals Filing for Bankruptcy                                            page 8
            Case 17-42076                   Doc 54          Filed 05/16/19 Entered 05/16/19 17:11:18                                         Desc Main
                                                             Document     Page 9 of 40

 Fill in this information to identify your case and this filing:
 Debtor 1               Glenn                    C.                       Griswold
                        First Name               Middle Name              Last Name

 Debtor 2            Amanda                      L.                       Griswold
 (Spouse, if filing) First Name                  Middle Name              Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number            17-42076                                                                                                    Check if this is an
 (if known)
                                                                                                                                    amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                       12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list
the asset in the category where you think it fits best. Be as complete and accurate as possible. If two married people are
filing together, both are equally responsible for supplying correct information. If more space is needed, attach a separate
sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Part 1:          Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1.     Do you own or have any legal or equitable interest in any residence, building, land, or similar property?
            No. Go to Part 2.
            Yes. Where is the property?

1.1.                                                     What is the property?                               Do not deduct secured claims or exemptions. Put the
2614 Butterfield Trail, Sherman, Texas                   Check all that apply.                               amount of any secured claims on Schedule D:
75092                                                         Single-family home                             Creditors Who Have Claims Secured by Property.
                                                              Duplex or multi-unit building                  Current value of the            Current value of the
                                                              Condominium or cooperative                     entire property?                portion you own?
Grayson
County                                                        Manufactured or mobile home                                $280,000.00                  $280,000.00
                                                              Land
                                                              Investment property                            Describe the nature of your ownership
                                                              Timeshare                                      interest (such as fee simple, tenancy by the
                                                              Other                                          entireties, or a life estate), if known.

                                                                                                             Homestead
                                                         Who has an interest in the property?
                                                         Check one.
                                                              Debtor 1 only                                       Check if this is community property
                                                              Debtor 2 only                                       (see instructions)
                                                              Debtor 1 and Debtor 2 only
                                                              At least one of the debtors and another

                                                         Other information you wish to add about this item, such as local
                                                         property identification number:

2.     Add the dollar value of the portion you own for all of your entries from Part 1, including any
       entries for pages you have attached for Part 1. Write that number here.............................................................            $280,000.00


 Part 2:          Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.


3.     Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

           No
           Yes




Official Form 106A/B                                                   Schedule A/B: Property                                                                page 1
           Case 17-42076                  Doc 54          Filed 05/16/19 Entered 05/16/19 17:11:18                                         Desc Main
                                                           Document     Page 10 of 40
Debtor 1         Glenn C. Griswold
Debtor 2         Amanda L. Griswold                                                                  Case number (if known)         17-42076

3.1.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     Dodge Ram                    Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    2500
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                     2008
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage:                                        At least one of the debtors and another            $10,000.00                           $10,000.00
Other information:
2008 Dodge Ram 2500                                         Check if this is community property
                                                            (see instructions)
3.2.                                                   Who has an interest in the property?                Do not deduct secured claims or exemptions. Put the
Make:                     GMC                          Check one.                                          amount of any secured claims on Schedule D:
                                                            Debtor 1 only                                  Creditors Who Have Claims Secured by Property.
Model:                    Yukon
                                                            Debtor 2 only                           Current value of the                   Current value of the
Year:                     2009
                                                            Debtor 1 and Debtor 2 only              entire property?                       portion you own?
Approximate mileage:                                        At least one of the debtors and another             $5,000.00                             $5,000.00
Other information:
2009 GMC Yukon                                              Check if this is community property
                                                            (see instructions)
4.   Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
     Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
           No
           Yes

5.   Add the dollar value of the portion you own for all of your entries from Part 2, including any
     entries for pages you have attached for Part 2. Write that number here.............................................................            $15,000.00


 Part 3:          Describe Your Personal and Household Items
                                                                                                                                           Current value of the
Do you own or have any legal or equitable interest in any of the following items?
                                                                                                                                           portion you own?
                                                                                                                                           Do not deduct secured
                                                                                                                                           claims or exemptions.

6.   Household goods and furnishings
     Examples: Major appliances, furniture, linens, china, kitchenware
           No
           Yes. Describe............
                               See continuation page(s).                                                                                              $2,775.00

7.   Electronics
     Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners;
                music collections; electronic devices including cell phones, cameras, media players, games
           No
           Yes. Describe............
                               See continuation page(s).                                                                                                $850.00

8.   Collectibles of value
     Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
                stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
           No
           Yes. Describe............
                               pictures                                                                                                                 $150.00

9.   Equipment for sports and hobbies
     Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis;
               canoes and kayaks; carpentry tools; musical instruments
           No
           Yes. Describe............
                               misc.                                                                                                                    $100.00




Official Form 106A/B                                                 Schedule A/B: Property                                                                page 2
             Case 17-42076                             Doc 54                 Filed 05/16/19 Entered 05/16/19 17:11:18                                                                      Desc Main
                                                                               Document     Page 11 of 40
Debtor 1          Glenn C. Griswold
Debtor 2          Amanda L. Griswold                                                                                                    Case number (if known)                    17-42076

10. Firearms
    Examples: Pistols, rifles, shotguns, ammunition, and related equipment
            No
            Yes. Describe............

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
            No
            Yes. Describe............
                                See continuation page(s).                                                                                                                                                         $950.00

12. Jewelry
    Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
              gold, silver
            No
            Yes. Describe............
                                See continuation page(s).                                                                                                                                                         $600.00

13. Non-farm animals
    Examples: Dogs, cats, birds, horses
            No
            Yes. Describe............
                                See continuation page(s).                                                                                                                                                              $20.00

14. Any other personal and household items you did not already list, including any health aids you
    did not list
            No
            Yes. Give specific
            information......................

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have
    attached for Part 3. Write the number here.......................................................................................................................                                          $5,445.00


  Part 4:            Describe Your Financial Assets
                                                                                                                                                                                             Current value of the
Do you own or have any legal or equitable interest in any of the following?
                                                                                                                                                                                             portion you own?
                                                                                                                                                                                             Do not deduct secured
                                                                                                                                                                                             claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your
              petition
            No
            Yes.....................................................................................................................................................................................................
                                                                                                                                                     Cash: ...........................................

17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions,
              brokerage houses, and other similar institutions. If you have multiple accounts with the same
              institution, list each.

            No
            Yes..............................                    Institution name:

             17.1.        Checking account:                      Checking account - Chase                                                                                                                         $500.00
18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
            No
            Yes.............................. Institution or issuer name:




Official Form 106A/B                                                                         Schedule A/B: Property                                                                                                     page 3
            Case 17-42076                        Doc 54          Filed 05/16/19 Entered 05/16/19 17:11:18                            Desc Main
                                                                  Document     Page 12 of 40
Debtor 1         Glenn C. Griswold
Debtor 2         Amanda L. Griswold                                                                Case number (if known)     17-42076

19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including
    an interest in an LLC, partnership, and joint venture
           No
           Yes. Give specific
           information about
           them...............................................
                                              Name of entity:                                                   % of ownership:
20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
           No
           Yes. Give specific
           information about
           them...............................................
                                              Issuer name:
21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or
              profit-sharing plans
           No
           Yes. List each
           account separately.             Type of account:         Institution name:
                                           401(k) or similar plan: 401(k)                                                                         $4,000.00
22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

           No
           Yes..............................                     Institution name or individual:
23. Annuities (A contract for a specific periodic payment of money to you, either for life or for a number of years)
       No
       Yes.............................. Issuer name and description:
24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
           No
           Yes.............................. Institution name and description. Separately file the records of any interests. 11 U.S.C. § 521(c)
25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or
    powers exercisable for your benefit
           No
           Yes. Give specific
           information about them

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property;
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
           No
           Yes. Give specific
           information about them

27. Licenses, franchises, and other general intangibles
    Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
           No
           Yes. Give specific
           information about them




Official Form 106A/B                                                      Schedule A/B: Property                                                      page 4
             Case 17-42076                       Doc 54              Filed 05/16/19 Entered 05/16/19 17:11:18                                                   Desc Main
                                                                      Document     Page 13 of 40
Debtor 1         Glenn C. Griswold
Debtor 2         Amanda L. Griswold                                                                                  Case number (if known)             17-42076

Money or property owed to you?                                                                                                                                   Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.

28. Tax refunds owed to you

            No
            Yes. Give specific information                                                                                                            Federal:
            about them, including whether
            you already filed the returns                                                                                                             State:
            and the tax years.....................................
                                                                                                                                                      Local:

29. Family support
    Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
            No
            Yes. Give specific information                                                                                            Alimony:

                                                                                                                                      Maintenance:

                                                                                                                                      Support:

                                                                                                                                      Divorce settlement:

                                                                                                                                      Property settlement:

30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers'
              compensation, Social Security benefits; unpaid loans you made to someone else
            No
            Yes. Give specific information

31. Interests in insurance policies
    Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner's, or renter's insurance
            No
            Yes. Name the insurance
            company of each policy
            and list its value................     Company name:                                                Beneficiary:                                Surrender or refund value:
32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently
    entitled to receive property because someone has died
            No
            Yes. Give specific information

33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
            No
            Yes. Describe each claim..............

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and
    rights to set off claims
            No
            Yes. Describe each claim..............

35. Any financial assets you did not already list

            No
            Yes. Give specific information

36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have
    attached for Part 4. Write that number here.......................................................................................................................     $4,500.00



Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 5
             Case 17-42076                      Doc 54              Filed 05/16/19 Entered 05/16/19 17:11:18                                                    Desc Main
                                                                     Document     Page 14 of 40
Debtor 1         Glenn C. Griswold
Debtor 2         Amanda L. Griswold                                                                                  Case number (if known)             17-42076


  Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?

            No. Go to Part 6.
            Yes. Go to line 38.

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
38. Accounts receivable or commissions you already earned

            No
            Yes. Describe................

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones,
               desks, chairs, electronic devices
            No
            Yes. Describe................

40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

            No
            Yes. Describe................

41. Inventory

            No
            Yes. Describe................

42. Interests in partnerships or joint ventures

            No
            Yes. Describe................
                                Name of entity:                                                                                       % of ownership:

43. Customer lists, mailing lists, or other compilations

            No
            Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                    No
                    Yes. Describe..............

44. Any business-related property you did not already list

            No
            Yes. Give specific information.

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have
    attached for Part 5. Write that number here.......................................................................................................................          $0.00


  Part 6: Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
                If you own or have an interest in farmland, list it in Part 1.

46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

            No. Go to Part 7.
            Yes. Go to line 47.




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 6
             Case 17-42076                          Doc 54          Filed 05/16/19 Entered 05/16/19 17:11:18                                                    Desc Main
                                                                     Document     Page 15 of 40
Debtor 1          Glenn C. Griswold
Debtor 2          Amanda L. Griswold                                                                                 Case number (if known)             17-42076

                                                                                                                                                                 Current value of the
                                                                                                                                                                 portion you own?
                                                                                                                                                                 Do not deduct secured
                                                                                                                                                                 claims or exemptions.
47. Farm animals
    Examples: Livestock, poultry, farm-raised fish
            No
            Yes............................

48. Crops--either growing or harvested

            No
            Yes. Give specific
            information..........................

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

            No
            Yes..............................

50. Farm and fishing supplies, chemicals, and feed

            No
            Yes..............................

51. Any farm- and commercial fishing-related property you did not already list

            No
            Yes. Give specific
            information..........................

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have
    attached for Part 6. Write that number here.......................................................................................................................          $0.00


  Part 7: Describe All Property You Own or Have an Interest in That You Did Not List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

            No
            Yes. Give specific information.


54. Add the dollar value of all of your entries from Part 7. Write that number here.................................................                                            $0.00




Official Form 106A/B                                                            Schedule A/B: Property                                                                           page 7
              Case 17-42076                         Doc 54               Filed 05/16/19 Entered 05/16/19 17:11:18                                                           Desc Main
                                                                          Document     Page 16 of 40
Debtor 1           Glenn C. Griswold
Debtor 2           Amanda L. Griswold                                                                                         Case number (if known)                17-42076


  Part 8: List the Totals of Each Part of this Form

55. Part 1: Total real estate, line 2..............................................................................................................................................   $280,000.00

56. Part 2: Total vehicles, line 5                                                                                  $15,000.00

57. Part 3: Total personal and household items, line 15                                                               $5,445.00

58. Part 4: Total financial assets, line 36                                                                           $4,500.00

59. Part 5: Total business-related property, line 45                                                                         $0.00

60. Part 6: Total farm- and fishing-related property, line 52                                                                $0.00

61. Part 7: Total other property not listed, line 54                                               +                         $0.00

                                                                                                                                            Copy personal
62. Total personal property.                   Add lines 56 through 61.................................             $24,945.00              property total                 +           $24,945.00



63. Total of all property on Schedule A/B.                                                                                                                                                  $304,945.00
                                                                    Add line 55 + line 62.......................................................................................................




Official Form 106A/B                                                                  Schedule A/B: Property                                                                                   page 8
            Case 17-42076         Doc 54          Filed 05/16/19 Entered 05/16/19 17:11:18                   Desc Main
                                                   Document     Page 17 of 40
Debtor 1       Glenn C. Griswold
Debtor 2       Amanda L. Griswold                                               Case number (if known)   17-42076


6.   Household goods and furnishings (details):

     recliner                                                                                                        $100.00

     coffee tables                                                                                                    $50.00

     lamps                                                                                                           $150.00

     dining table and chairs                                                                                         $450.00

     stove                                                                                                           $250.00

     dishwasher                                                                                                      $100.00

     microwave                                                                                                        $50.00

     refrigerator                                                                                                    $250.00

     freezer                                                                                                          $50.00

     dresser                                                                                                         $100.00

     armoire                                                                                                         $200.00

     nightstand                                                                                                      $100.00

     mirror                                                                                                          $200.00

     beds                                                                                                            $500.00

     printer                                                                                                          $25.00

     sofa                                                                                                            $100.00

     table                                                                                                           $100.00

7.   Electronics (details):

     tv's                                                                                                            $500.00

     dvd player                                                                                                       $25.00

     speakers                                                                                                         $25.00

     computers                                                                                                       $300.00

11. Clothes (details):

     wearing apparel                                                                                                 $500.00

     accessories                                                                                                     $200.00

     shoes                                                                                                           $250.00

12. Jewelry (details):

     wedding ring                                                                                                    $500.00

     watch                                                                                                           $100.00

13. Non-farm animals (details):

     dog                                                                                                              $10.00

     cats                                                                                                             $10.00




Official Form 106A/B                                   Schedule A/B: Property                                            page 9
           Case 17-42076     Doc 54   Filed 05/16/19 Entered 05/16/19 17:11:18                   Desc Main
                                       Document     Page 18 of 40
Debtor 1    Glenn C. Griswold
Debtor 2    Amanda L. Griswold                                      Case number (if known)   17-42076




Official Form 106A/B                       Schedule A/B: Property                                            page 10
          Case 17-42076              Doc 54         Filed 05/16/19 Entered 05/16/19 17:11:18                                 Desc Main
                                                     Document     Page 19 of 40

 Fill in this information to identify your case:
 Debtor 1            Glenn                C.                     Griswold
                     First Name           Middle Name            Last Name
 Debtor 2            Amanda               L.                     Griswold
 (Spouse, if filing) First Name           Middle Name            Last Name

 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS
                                                                                                                     Check if this is an
 Case number         17-42076                                                                                        amended filing
 (if known)

Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                04/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages,
write your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so
is to state a specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being
exempted up to the amount of any applicable statutory limit. Some exemptions--such as those for health aids, rights to
receive certain benefits, and tax-exempt retirement funds--may be unlimited in dollar amount. However, if you claim an
exemption of 100% of fair market value under a law that limits the exemption to a particular dollar amount and the value of the
property is determined to exceed that amount, your exemption would be limited to the applicable statutory amount.


 Part 1:        Identify the Property You Claim as Exempt

1.   Which set of exemptions are you claiming?             Check one only, even if your spouse is filing with you.
          You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
          You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

2.   For any property you list on Schedule A/B that you claim as exempt, fill in the information below.

Brief description of the property and line on           Current value of     Amount of the                Specific laws that allow exemption
Schedule A/B that lists this property                   the portion you      exemption you claim
                                                        own
                                                        Copy the value from Check only one box for
                                                        Schedule A/B        each exemption


Brief description:                                        $280,000.00                                     11 U.S.C. § 522(d)(1) (Claimed:
2614 Butterfield Trail, Sherman, Texas                                            100% of fair market     $37,012.16
75092                                                                             value, up to any        100% of fair market value, up to any
Line from Schedule A/B:  1.1                                                      applicable statutory    applicable statutory limit)
                                                                                  limit

Brief description:                                         $10,000.00                                     11 U.S.C. § 522(d)(2) (Claimed:
2008 Dodge Ram 2500                                                               100% of fair market     $3,775.00
(1st exemption claimed for this asset)                                            value, up to any        100% of fair market value, up to any
Line from Schedule A/B: 3.1                                                       applicable statutory    applicable statutory limit)
                                                                                  limit




3.   Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

          No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
              No
              Yes

Official Form 106C                               Schedule C: The Property You Claim as Exempt                                               page 1
           Case 17-42076           Doc 54          Filed 05/16/19 Entered 05/16/19 17:11:18                         Desc Main
                                                    Document     Page 20 of 40
Debtor 1      Glenn C. Griswold
Debtor 2      Amanda L. Griswold                                                     Case number (if known)   17-42076

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                     $10,000.00                $2,378.35          11 U.S.C. § 522(d)(5) (Claimed:
2008 Dodge Ram 2500                                                          100% of fair market    $2,378.35
(2nd exemption claimed for this asset)                                       value, up to any       100% of fair market value, up to any
Line from Schedule A/B: 3.1                                                  applicable statutory   applicable statutory limit $2302.73)
                                                                             limit

Brief description:                                      $5,000.00                                   11 U.S.C. § 522(d)(2) (Claimed:
2009 GMC Yukon                                                               100% of fair market    $3,775.00
(1st exemption claimed for this asset)                                       value, up to any       100% of fair market value, up to any
Line from Schedule A/B: 3.2                                                  applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                      $5,000.00                $1,225.00          11 U.S.C. § 522(d)(5) (Claimed:
2009 GMC Yukon                                                               100% of fair market    $1,225.00
(2nd exemption claimed for this asset)                                       value, up to any       100% of fair market value, up to any
Line from Schedule A/B: 3.2                                                  applicable statutory   applicable statutory limit $1225.00)
                                                                             limit

Brief description:                                       $100.00                                    11 U.S.C. § 522(d)(3) (Claimed:
recliner                                                                     100% of fair market    $100.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $50.00                                     11 U.S.C. § 522(d)(3) (Claimed:
coffee tables                                                                100% of fair market    $50.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $150.00                                    11 U.S.C. § 522(d)(3) (Claimed:
lamps                                                                        100% of fair market    $150.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $450.00                                    11 U.S.C. § 522(d)(3) (Claimed:
dining table and chairs                                                      100% of fair market    $450.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $250.00                                    11 U.S.C. § 522(d)(3) (Claimed:
stove                                                                        100% of fair market    $250.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $100.00                                    11 U.S.C. § 522(d)(3) (Claimed:
dishwasher                                                                   100% of fair market    $100.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 2
           Case 17-42076           Doc 54          Filed 05/16/19 Entered 05/16/19 17:11:18                         Desc Main
                                                    Document     Page 21 of 40
Debtor 1      Glenn C. Griswold
Debtor 2      Amanda L. Griswold                                                     Case number (if known)   17-42076

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $50.00                                     11 U.S.C. § 522(d)(3) (Claimed:
microwave                                                                    100% of fair market    $50.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $250.00                                    11 U.S.C. § 522(d)(3) (Claimed:
refrigerator                                                                 100% of fair market    $250.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $50.00                                     11 U.S.C. § 522(d)(3) (Claimed:
freezer                                                                      100% of fair market    $50.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $100.00                                    11 U.S.C. § 522(d)(3) (Claimed:
dresser                                                                      100% of fair market    $100.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $200.00                                    11 U.S.C. § 522(d)(3) (Claimed:
armoire                                                                      100% of fair market    $200.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $100.00                                    11 U.S.C. § 522(d)(3) (Claimed:
nightstand                                                                   100% of fair market    $100.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $200.00                                    11 U.S.C. § 522(d)(3) (Claimed:
mirror                                                                       100% of fair market    $200.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $500.00                                    11 U.S.C. § 522(d)(3) (Claimed:
beds                                                                         100% of fair market    $500.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $25.00                                     11 U.S.C. § 522(d)(3) (Claimed:
printer                                                                      100% of fair market    $25.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 3
           Case 17-42076           Doc 54          Filed 05/16/19 Entered 05/16/19 17:11:18                         Desc Main
                                                    Document     Page 22 of 40
Debtor 1      Glenn C. Griswold
Debtor 2      Amanda L. Griswold                                                     Case number (if known)   17-42076

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $100.00                                    11 U.S.C. § 522(d)(3) (Claimed:
sofa                                                                         100% of fair market    $0.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $100.00                                    11 U.S.C. § 522(d)(3) (Claimed:
table                                                                        100% of fair market    $0.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     6
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $500.00                                    11 U.S.C. § 522(d)(3) (Claimed:
tv's                                                                         100% of fair market    $500.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $25.00                                     11 U.S.C. § 522(d)(3) (Claimed:
dvd player                                                                   100% of fair market    $25.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $25.00                                     11 U.S.C. § 522(d)(3) (Claimed:
speakers                                                                     100% of fair market    $25.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $300.00                                    11 U.S.C. § 522(d)(3) (Claimed:
computers                                                                    100% of fair market    $300.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     7
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $150.00                                    11 U.S.C. § 522(d)(3) (Claimed:
pictures                                                                     100% of fair market    $150.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     8
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $100.00                                    11 U.S.C. § 522(d)(3) (Claimed:
misc.                                                                        100% of fair market    $100.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:     9
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $500.00                                    11 U.S.C. § 522(d)(3) (Claimed:
wearing apparel                                                              100% of fair market    $500.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 4
           Case 17-42076           Doc 54          Filed 05/16/19 Entered 05/16/19 17:11:18                         Desc Main
                                                    Document     Page 23 of 40
Debtor 1      Glenn C. Griswold
Debtor 2      Amanda L. Griswold                                                     Case number (if known)   17-42076

 Part 2:        Additional Page
Brief description of the property and line on       Current value of    Amount of the               Specific laws that allow exemption
Schedule A/B that lists this property               the portion you     exemption you claim
                                                    own
                                                    Copy the value from Check only one box for
                                                    Schedule A/B        each exemption

Brief description:                                       $200.00                                    11 U.S.C. § 522(d)(3) (Claimed:
accessories                                                                  100% of fair market    $200.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $250.00                                    11 U.S.C. § 522(d)(3) (Claimed:
shoes                                                                        100% of fair market    $250.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:    11
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $500.00                                    11 U.S.C. § 522(d)(4) (Claimed:
wedding ring                                                                 100% of fair market    $500.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:    12
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $100.00                                    11 U.S.C. § 522(d)(4) (Claimed:
watch                                                                        100% of fair market    $100.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:    12
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $10.00                                     11 U.S.C. § 522(d)(3) (Claimed:
dog                                                                          100% of fair market    $10.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:    13
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $10.00                                     11 U.S.C. § 522(d)(3) (Claimed:
cats                                                                         100% of fair market    $10.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:    13
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                       $500.00                                    11 U.S.C. § 522(d)(5) (Claimed:
Checking account - Chase                                                     100% of fair market    $500.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:   17.1
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit

Brief description:                                      $4,000.00                                   11 U.S.C. § 522(d)(12) (Claimed:
401(k)                                                                       100% of fair market    $4,000.00
                                                                             value, up to any       100% of fair market value, up to any
Line from Schedule A/B:    21
                                                                             applicable statutory   applicable statutory limit)
                                                                             limit




Official Form 106C                              Schedule C: The Property You Claim as Exempt                                         page 5
            Case 17-42076                   Doc 54       Filed 05/16/19 Entered 05/16/19 17:11:18                                Desc Main
                                                          Document     Page 24 of 40

  Fill in this information to identify your case:
  Debtor 1             Glenn                  C.                     Griswold
                       First Name             Middle Name            Last Name

  Debtor 2            Amanda                  L.                     Griswold
  (Spouse, if filing) First Name              Middle Name            Last Name


  United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

  Case number          17-42076                                                                                          Check if this is an
  (if known)
                                                                                                                         amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form.
On the top of any additional pages, write your name and case number (if known).


1.      Do any creditors have claims secured by your property?
             No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
             Yes. Fill in all of the information below.


  Part 1:         List All Secured Claims

2.      List all secured claims. If a creditor has more than one secured
        claim, list the creditor separately for each claim. If more than one               Column A               Column B               Column C
        creditor has a particular claim, list the other creditors in Part 2. As            Amount of claim        Value of collateral    Unsecured
        much as possible, list the claims in alphabetical order according to the           Do not deduct the      that supports this     portion
        creditor's name.                                                                   value of collateral    claim                  If any

  2.1                                              Describe the property that
                                                   secures the claim:                            $14,292.28             $280,000.00
Guild Mortgage
Creditor's name
                                                   Homestead Arrears
PO BOX 85046
Number       Street


                                                   As of the date you file, the claim is: Check all that apply.
                                                       Contingent
SAN DIEGO                CA      92186-5046            Unliquidated
City                     State   ZIP Code
                                                       Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Deed of Trust
   to a community debt
Date debt was incurred           5/1/2014          Last 4 digits of account number        1     6    1    9
PRIMARY RESIDENCE




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                                $14,292.28

Official Form 106D                            Schedule D: Creditors Who Have Claims Secured by Property                                         page 1
           Case 17-42076                   Doc 54    Filed 05/16/19 Entered 05/16/19 17:11:18                               Desc Main
                                                      Document     Page 25 of 40
Debtor 1      Glenn C. Griswold
Debtor 2      Amanda L. Griswold                                                           Case number (if known)      17-42076

                  Additional Page                                                      Column A               Column B              Column C
  Part 1:                                                                              Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                       Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                       value of collateral    claim                 If any

  2.2                                          Describe the property that
                                               secures the claim:                            $72,987.84             $280,000.00
Guild Mortgage                                 2nd lien on homestead
Creditor's name
PO BOX 85046
Number     Street


                                               As of the date you file, the claim is: Check all that apply.
                                                   Contingent
SAN DIEGO               CA      92186-5046         Unliquidated
City                    State   ZIP Code
                                                   Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Deed of Trust
   to a community debt
Date debt was incurred                         Last 4 digits of account number
Due at the maturity date of the 1st lien.
  2.3                                          Describe the property that
                                               secures the claim:                            $11,329.06             $280,000.00
Guild Mortgage
Creditor's name
                                               Homestead
PO BOX 85046
Number     Street


                                               As of the date you file, the claim is: Check all that apply.
                                                   Contingent
SAN DIEGO               CA      92186-5046         Unliquidated
City                    State   ZIP Code
                                                   Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Deed of Trust
   to a community debt
Date debt was incurred                         Last 4 digits of account number




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                            $84,316.90

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 2
           Case 17-42076                   Doc 54    Filed 05/16/19 Entered 05/16/19 17:11:18                               Desc Main
                                                      Document     Page 26 of 40
Debtor 1      Glenn C. Griswold
Debtor 2      Amanda L. Griswold                                                           Case number (if known)      17-42076

                  Additional Page                                                      Column A               Column B              Column C
  Part 1:                                                                              Amount of claim        Value of collateral   Unsecured
                  After listing any entries on this page, number them
                                                                                       Do not deduct the      that supports this    portion
                  sequentially from the previous page.
                                                                                       value of collateral    claim                 If any

  2.4                                          Describe the property that
                                               secures the claim:                           $170,000.00             $280,000.00
Guild Mortgage Co.                             Homestead
Creditor's name
P.O. Box 85046
Number     Street


                                               As of the date you file, the claim is: Check all that apply.
                                                   Contingent
San Diego               CA      92186-5046         Unliquidated
City                    State   ZIP Code
                                                   Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Deed of Trust
   to a community debt
Date debt was incurred          5/2014         Last 4 digits of account number        1     6    1    9

  2.5                                          Describe the property that
                                               secures the claim:                               $3,846.65            $10,000.00
One Main Financial
Creditor's name
                                               2007 Dodge Ram Truck
3515 W. FM 120
Number     Street
Ste. 120
                                               As of the date you file, the claim is: Check all that apply.
                                                   Contingent
Denison                 TX      75020              Unliquidated
City                    State   ZIP Code
                                                   Disputed
Who owes the debt? Check one.              Nature of lien. Check all that apply.
   Debtor 1 only
                                              An agreement you made (such as mortgage or secured car loan)
   Debtor 2 only
                                              Statutory lien (such as tax lien, mechanic's lien)
   Debtor 1 and Debtor 2 only
                                              Judgment lien from a lawsuit
   At least one of the debtors and another
                                              Other (including a right to offset)
   Check if this claim relates                Certificate of Title
   to a community debt
Date debt was incurred          2014           Last 4 digits of account number        2     7    2    8




Add the dollar value of your entries in Column A on this page. Write
that number here:                                                                           $173,846.65

If this is the last page of your form, add the dollar value totals from
all pages. Write that number here:                                                          $272,455.83

Official Form 106D                Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                             page 3
            Case 17-42076               Doc 54       Filed 05/16/19 Entered 05/16/19 17:11:18                                     Desc Main
                                                      Document     Page 27 of 40

 Fill in this information to identify your case:
     Debtor 1              Glenn                C.                     Griswold
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2              Amanda               L.                     Griswold                                 An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing postpetition
     United States Bankruptcy Court for the:   EASTERN DISTRICT OF TEXAS
                                                                                                                chapter 13 income as of the following date:
     Case number           17-42076
     (if known)
                                                                                                                MM / DD / YYYY
Official Form 106I
Schedule I: Your Income                                                                                                                              12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             Assembler                                          Unemployed
      Include part-time, seasonal,
      or self-employed work.            Employer's name        Caterpillar

      Occupation may include            Employer's address
      student or homemaker, if it                              Number Street                                      Number Street
      applies.




                                                               City                         State    Zip Code     City                   State   Zip Code

                                        How long employed there?        6 years

 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                  $3,704.13                  $0.00
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.
3.    Estimate and list monthly overtime pay.                                      3.   +               $0.00                  $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.               $3,704.13                  $0.00




Official Form 106I                                            Schedule I: Your Income                                                                page 1
           Case 17-42076                         Doc 54              Filed 05/16/19 Entered 05/16/19 17:11:18                                             Desc Main
                                                                      Document     Page 28 of 40
Debtor 1        Glenn C. Griswold
Debtor 2        Amanda L. Griswold                                                                                               Case number (if known)    17-42076
                                                                                                                    For Debtor 1             For Debtor 2 or
                                                                                                                                             non-filing spouse
     Copy line 4 here ...................................................................................................................
                                                                                                                 4.              $3,704.13            $0.00
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                      5a.              $594.01                  $0.00
     5b. Mandatory contributions for retirement plans                                                       5b.              $222.26                  $0.00
     5c. Voluntary contributions for retirement plans                                                       5c.                $0.00                  $0.00
     5d. Required repayments of retirement fund loans                                                       5d.                $0.00                  $0.00
     5e. Insurance                                                                                          5e.              $290.80                  $0.00
     5f. Domestic support obligations                                                                       5f.                $0.00                  $0.00
     5g. Union dues                                                                                         5g.                $0.00                  $0.00
     5h. Other deductions.
          Specify: See continuation sheet                                                                   5h. +              $39.21                 $0.00
6.   Add the payroll deductions.                 Add lines 5a + 5b + 5c + 5d + 5e + 5f +                    6.            $1,146.28                   $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                         Subtract line 6 from line 4.            7.            $2,557.85                   $0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                               8a.                  $0.00                $0.00
          business, profession, or farm
           Attach a statement for each property and business showing
           gross receipts, ordinary and necessary business expenses, and
           the total monthly net income.
     8b. Interest and dividends                                                                             8b.                  $0.00                $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                        8c.                  $0.00                $0.00
         dependent regularly receive
           Include alimony, spousal support, child support, maintenance,
           divorce settlement, and property settlement.
     8d. Unemployment compensation                                                                          8d.                  $0.00                $0.00
     8e. Social Security                                                                                    8e.                  $0.00                $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                           8f.                  $0.00                $0.00
     8g. Pension or retirement income                                                                       8g.                  $0.00                $0.00
     8h. Other monthly income.
         Specify:                                                                                           8h. +                $0.00                $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                 9.                   $0.00                $0.00

10. Calculate monthly income. Add line 7 + line 9.                             10.     $2,557.85 +             $0.00 =                                                   $2,557.85
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                             11.    +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                             12.            $2,557.85
    income. Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information,
    if it applies.                                                                                                                                                   Combined
                                                                                                                                                                     monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
           Yes. Explain:




Official Form 106I                                                               Schedule I: Your Income                                                                      page 2
           Case 17-42076          Doc 54   Filed 05/16/19 Entered 05/16/19 17:11:18                       Desc Main
                                            Document     Page 29 of 40
Debtor 1      Glenn C. Griswold
Debtor 2      Amanda L. Griswold                                                 Case number (if known)   17-42076


                                                                        For Debtor 1       For Debtor 2 or
                                                                                           non-filing spouse
5h. Other Payroll Deductions (details)
     Charity                                                                   $17.76
     Unicef                                                                    $21.45

                                                              Totals:          $39.21               $0.00




Official Form 106I                              Schedule I: Your Income                                               page 3
            Case 17-42076               Doc 54          Filed 05/16/19 Entered 05/16/19 17:11:18                                 Desc Main
                                                         Document     Page 30 of 40

 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Glenn                  C.                     Griswold                            An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing postpetition
                                                                                                             chapter 13 expenses as of the
     Debtor 2              Amanda                 L.                     Griswold
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    EASTERN DISTRICT OF TEXAS                                      MM / DD / YYYY
     Case number           17-42076
     (if known)

Official Form 106J
Schedule J: Your Expenses                                                                                                                        12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.
2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                  Daughter                            19
                                                                                                                                           Yes
      Do not state the dependents'
                                                                                                                                           No
      names.                                                                      Son                                 13
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                  Son                                 9
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                         No
      expenses of people other than                    Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.

      4d. Homeowner's association or condominium dues                                                                4d.




 Official Form 106J                                             Schedule J: Your Expenses                                                        page 1
            Case 17-42076             Doc 54        Filed 05/16/19 Entered 05/16/19 17:11:18                    Desc Main
                                                     Document     Page 31 of 40
Debtor 1      Glenn C. Griswold
Debtor 2      Amanda L. Griswold                                                       Case number (if known)   17-42076
                                                                                                          Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                     5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                             6a.                     $350.00
     6b. Water, sewer, garbage collection                                                           6b.                      $90.00
     6c. Telephone, cell phone, Internet, satellite, and                                            6c.                     $200.00
         cable services
     6d. Other. Specify:                                                                            6d.

7.   Food and housekeeping supplies                                                                 7.                     $1,000.00
8.   Childcare and children's education costs                                                       8.

9.   Clothing, laundry, and dry cleaning                                                            9.                      $100.00
10. Personal care products and services                                                             10.                     $100.00
11. Medical and dental expenses                                                                     11.                      $50.00
12. Transportation. Include gas, maintenance, bus or train                                          12.                     $350.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                   13.                      $50.00
    magazines, and books
14. Charitable contributions and religious donations                                                14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.    Life insurance                                                                         15a.

     15b.    Health insurance                                                                       15b.

     15c.    Vehicle insurance                                                                      15c.                    $110.00
     15d.    Other insurance. Specify:                                                              15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                        16.

17. Installment or lease payments:

     17a.    Car payments for Vehicle 1                                                             17a.

     17b.    Car payments for Vehicle 2                                                             17b.

     17c.    Other. Specify:                                                                        17c.

     17d.    Other. Specify:                                                                        17d.

18. Your payments of alimony, maintenance, and support that you did not report as                   18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                        19.




 Official Form 106J                                        Schedule J: Your Expenses                                           page 2
           Case 17-42076              Doc 54        Filed 05/16/19 Entered 05/16/19 17:11:18                            Desc Main
                                                     Document     Page 32 of 40
Debtor 1      Glenn C. Griswold
Debtor 2      Amanda L. Griswold                                                               Case number (if known)   17-42076
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
    20a.    Mortgages on other property                                                                      20a.

    20b.    Real estate taxes                                                                                20b.

    20c.    Property, homeowner's, or renter's insurance                                                     20c.

    20d.    Maintenance, repair, and upkeep expenses                                                         20d.

    20e.    Homeowner's association or condominium dues                                                      20e.

21. Other. Specify: vehicle maint.                                                                           21.    +               $150.00
22. Calculate your monthly expenses.

    22a.    Add lines 4 through 21.                                                                          22a.                  $2,550.00
    22b.    Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2.                 22b.

    22c.    Add line 22a and 22b. The result is your monthly expenses.                                       22c.                  $2,550.00

23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.                  $2,557.85
    23b.    Copy your monthly expenses from line 22c above.                                                  23b.   –              $2,550.00
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.                     $7.85

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                Debtors are in the process of selling the homestead.




 Official Form 106J                                         Schedule J: Your Expenses                                                  page 3
           Case 17-42076              Doc 54        Filed 05/16/19 Entered 05/16/19 17:11:18                              Desc Main
                                                     Document     Page 33 of 40

 Fill in this information to identify your case:
 Debtor 1              Glenn              C.                      Griswold
                       First Name         Middle Name             Last Name

 Debtor 2            Amanda               L.                      Griswold
 (Spouse, if filing) First Name           Middle Name             Last Name


 United States Bankruptcy Court for the: EASTERN DISTRICT OF TEXAS

 Case number           17-42076                                                                                                Check if this is an
 (if known)
                                                                                                                               amended filing



Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7                                                                               12/15

If you are an individual filing under chapter 7, you must fill out this form if:

     creditors have claims secured by your property, or

     you have leased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting
of creditors, whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors
and lessors you list on the form.

If two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Both debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any
additional pages, write your name and case number (if known).


 Part 1:           List Your Creditors Who Hold Secured Claims

1.    For any creditors that you listed in Part 1 of Schedule D: Creditors Who Hold Claims Secured by Property (Official Form 106D),
      fill in the information below.

      Identify the creditor and the property that is collateral         What do you intend to do with the            Did you claim the property
                                                                        property that secures a debt?                as exempt on Schedule C?

      Creditor's        Guild Mortgage                                        Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    Homestead Arrears                                     Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:
                                                                              Debtor will continue making payments to creditor without
                                                                              reaffirming.


      Creditor's        Guild Mortgage                                        Surrender the property.                    No
      name:                                                                   Retain the property and redeem it.         Yes
      Description of    2nd lien on homestead                                 Retain the property and enter into a
      property                                                                Reaffirmation Agreement.
      securing debt:                                                          Retain the property and [explain]:
                                                                              Debtor will continue making payments to creditor without
                                                                              reaffirming.




Official Form 108                         Statement of Intention for Individuals Filing Under Chapter 7                                     page 1
           Case 17-42076            Doc 54        Filed 05/16/19 Entered 05/16/19 17:11:18                            Desc Main
                                                   Document     Page 34 of 40
Debtor 1     Glenn C. Griswold
Debtor 2     Amanda L. Griswold                                                       Case number (if known)     17-42076

    Identify the creditor and the property that is collateral       What do you intend to do with the            Did you claim the property
                                                                    property that secures a debt?                as exempt on Schedule C?
    Creditor's       Guild Mortgage                                      Surrender the property.                      No
    name:                                                                Retain the property and redeem it.           Yes
    Description of   Homestead                                           Retain the property and enter into a
    property                                                             Reaffirmation Agreement.
    securing debt:                                                       Retain the property and [explain]:
                                                                         Debtor will continue making payments to creditor without
                                                                         reaffirming.


    Creditor's       Guild Mortgage Co.                                  Surrender the property.                      No
    name:                                                                Retain the property and redeem it.           Yes
    Description of   Homestead                                           Retain the property and enter into a
    property                                                             Reaffirmation Agreement.
    securing debt:                                                       Retain the property and [explain]:
                                                                         Debtor will continue making payments to creditor without
                                                                         reaffirming.


    Creditor's       One Main Financial                                  Surrender the property.                      No
    name:                                                                Retain the property and redeem it.           Yes
    Description of   2007 Dodge Ram Truck                                Retain the property and enter into a
    property                                                             Reaffirmation Agreement.
    securing debt:                                                       Retain the property and [explain]:



 Part 2:         List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G),
fill in the information below. Do not list real estate leases. Unexpired leases are leases that are still in effect; the lease period has not
yet ended. You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).

    Describe your unexpired personal property leases                                                            Will this lease be assumed?

    None.


 Part 3:         Sign Below

   Under penalty of perjury, I declare that I have indicated my intention about any property of my estate that secures a debt and
   personal property that is subject to an unexpired lease.

X /s/ Glenn C. Griswold                                X /s/ Amanda L. Griswold
   Glenn C. Griswold, Debtor 1                             Amanda L. Griswold, Debtor 2

   Date 05/16/2019                                         Date 05/16/2019
        MM / DD / YYYY                                          MM / DD / YYYY




Official Form 108                       Statement of Intention for Individuals Filing Under Chapter 7                                  page 2
            Case 17-42076         Doc 54      Filed 05/16/19 Entered 05/16/19 17:11:18                   Desc Main
                                               Document     Page 35 of 40

                                      UNITED STATES BANKRUPTCY COURT
                                          EASTERN DISTRICT OF TEXAS
                                              SHERMAN DIVISION

  IN RE:    Glenn C. Griswold                                                     CASE NO.    17-42076
            Amanda L. Griswold
                                                                                 CHAPTER      7

                                                  Certificate of Service


I certify that a true and correct copy of the Amended Petition has been served by the U.S. first class mail and\or by
electronic filing of the following:

Date:      5/16/2019                                            /s/ Richard Pelley
                                                                Richard Pelley
                                                                Attorney for the Debtor(s)
                  Case
Label Matrix for local    17-42076
                       noticing       Doc 54 AARGON
                                               Filed   05/16/19
                                                    COLLECTION AGENCY Entered 05/16/19 17:11:18      Desc Main
                                                                                          ACE CASH EXPRESS
0540-4                                           Document          Page
                                             8668 SPRING MOUNTAIN ROAD   36 of 40         1231 Greenway Drive
Case 17-42076                                 LAS VEGAS, NV 89117-4132                   SUITE 600
Eastern District of Texas                                                                IRVING, TX 75038-2511
Sherman
Thu May 16 17:00:12 CDT 2019
ACI                                           AD ASTRA RECOVERY SERVICES, INC.           ADD-ADHD DIAGNOSTIC TREATMENT
35A RUST LANE                                 SUITE 118                                  1524 Independence Pkwy
BOERNE, TX 78006-8202                         7330 W. 33RD STREET N.                     PLANO, TX 75075-6406
                                              WICHITA, KS 67205-9370


ADVANCED CALL CENTER TECHNOLOGIES             AFNI, INC.                                 ALLY FINANCIAL
3035 BOONES CREEK ROAD                        1310 MARTIN LUTHER KING DRIVE              PO BOX 380901
JOHNSON CITY, TN 37615-4663                   PO BOX 3517                                BLOOMINGTON, MN 55438-0901
                                              BLOOMINGTON, IL 61702-3517


AMERICAN MEDICAL COLLECTION AGENCY            AT&T                                       AT&T Mobility II LLC
PO BOX 1235                                   211 S Akard St                             %AT&T SERVICES INC.
ELMSFORD, NY, 10523-0935 10523-0935           DALLAS, TX 75202-4299                      KAREN A. CAVAGNARO PARALEGAL
                                                                                         ONE AT&T WAY, SUITE 3A104
                                                                                         BEDMINSTER, NJ. 07921-2693

ATG CREDIT LLC                                AVANTCREDIT II, LLC                        Aargon Agency As Agent For Uhs C Texoma Medi
PO BOX 14895                                  222 N. LASALLE STREET                      Uhs C Texoma Medical Center
CHICAGO, IL 60614-8542                        SUITE 1700                                 8668 Spring Mountain Rd
                                              CHICAGO, IL 60601-1101                     Las Vegas, NV 89117-4132


Ally Financial                                Ashley Furniture                           Atlas Acquisitions LLC
PO Box 130424                                 PO Box 965036                              294 Union St.
Roseville MN 55113-0004                       Orlando, FL 32896-5036                     Hackensack, NJ 07601-4303



Attorney General of Texas                     BARCLAYS BANK DELAWARE                     BRYAN RADIOLOGY ASSOCIATES
Collection Div. - Bankruptcy                  125 S WEST ST                              PO BOX 5306
Box 12548, Capitol Station                    WILMINGTON, DE 19801-5014                  BRYAN, TX 77805-5306
Austin, TX 78711-2548


CABLE ONE                                     CAPITAL MANAGEMENT SERVICES, LP            CAPITAL ONE BANK (USA) N.A.
PO BOX 78000                                  698 1/2 SOUTH OGDEN STREET                 4851 COX ROAD
PHOENIX, AZ 85062-8000                        BUFFALO, NY 14206-2317                     GLEN ALLEN, VA 23060-6293



CASHNET                                       CENTER FOR FAMILY MEDICINE                 CITIBANK USA, N.A. CITI-SEARS
1600 W 7TH STREET                             1906 W. US HWY 82                          PO BOX 6000
FORT WORTH, TX 76102-2504                     SHERMAN, TX 75092-6894                     SIOUX FALLS, SD 57117-6000



COCKERELL DERMATOPATHOLOGY                    CONVERGENT OUTSOURCING, INC.               CREDIT ONE BANK
PO BOX 678705                                 800 SW 39TH ST.                            PO BOX 60500
DALLAS, TX 75267-8705                         PO BOX 9004                                CITY OF INDUSTRY, CA 91716-0500
                                              RENTON, WA 98057-9004
Michelle Chow     Case 17-42076      Doc 54 (p)DIRECTV
                                              Filed 05/16/19
                                                       LLC     Entered 05/16/19 17:11:18
                                                                                   (p)DISCOVER Desc   Main
                                                                                               FINANCIAL SERVICES LLC
6318 E. Lovers Lane                             Document
                                            ATTN BANKRUPTCIES Page 37 of 40        PO BOX 3025
Dallas, TX 75214-2016                        PO BOX 6550                                    NEW ALBANY OH 43054-3025
                                             GREENWOOD VILLAGE CO 80155-6550


Directv, LLC                                 Discover Bank                                  ERC
by American InfoSource LP as agent           Discover Products Inc                          PO BOX 23870
4515 N Santa Fe Ave                          PO Box 3025                                    JACKSONVILLE, FL 32241-3870
Oklahoma City, OK 73118-7901                 New Albany Ohio 43054-3025


ERC                                          Carey D. Ebert                                 FEDERATED ADJ CO
PO BOX 57547                                 P. O. Box 941166                               7929 N PORT WASHINGTON RD
JACKSONVILLE, FL 32241-7547                  Plano, TX 75094-1166                           MILWAUKEE, WI 53217-3135



FIRST CHOICE POWER                           FIRST NATIONAL COLLECTION BUREAU, INC.         FIRST NATIONAL CREDIT CARD
130 W. PRINCETON DRIVE                       610 WALTHAM WAY                                PO BOX 2496
PRINCETON, TX 75407-6504                     SPARKS, NV 89437-6695                          OMAHA, NE 68103-2496



FIRSTSOURCE ADVANTAGE LLC                    FMA ALLIANCE, LTD                              FmHA
205 BRYANT WOODS SOUTH                       12339 CUTTEN ROAD                              101 S. Main St., Suite 102
AMHERST, NY 14228-3609                       HOUSTON, TX 77066-1807                         Temple, TX 76501-7651



GC SERVICES                                  GUILD MORTGAGE COMPANY, A CALIFORNIA CORPORA   Grayson County
6330 GULFTON                                 PO Box 85304                                   Linebarger Goggan Blair & Sampson LLP
HOUSTON, TX 77081-1198                       San Diego, CA 92186-5304                       c/o Melissa L. Palo
                                                                                            2777 N. Stemmons Freeway
                                                                                            Suite 1000
                                                                                            Dallas, Tx 75207-2328
Amanda L. Griswold                           Glenn C. Griswold                              Guild Mortgage
2614 Butterfield Trail                       2614 Butterfield Trail                         PO BOX 85046
Sherman, TX 75092-4480                       Sherman, TX 75092-4480                         SAN DIEGO, CA 92186-5046



Guild Mortgage Company                       HERITAGE PARK SURGICAL HOSPITAL                Hughes, Watters & Askanase, LLP
5898 Copley Dr., 4th Floor                   PO BOX 21863                                   1201 Louisiana, Ste. 2800
San Diego, CA 92111-7916                     OKLAHOMA CITY, OK 73156-1863                   Houston, Texas 77002-5607



Internal Revenue Service                     JCPENNEY                                       JOHN G. RANDALL, O.D.
P.O. Box 7346                                PO BOX 965007                                  2306 N. TRAVIS ST.
Philadelphia, PA 19101-7346                  ORLANDO, FL 32896-5007                         SHERMAN, TX 75092-2517



LABCORP                                      LCA COLLECTIONS                                LIPSKY & ASSOCIATES
PO BOX 2240                                  PO BOX 2240                                    PO BOX 429
BURLINGTON, NC 27216-2240                    BURLINGTON, NC 27216-2240                      WEATHERFORD, TX 76086-0429
LVNV FUNDING LLC Case 17-42076         Doc 54 LVNVFiled  05/16/19
                                                    Funding,            Entered
                                                             LLC its successors and 05/16/19
                                                                                    assigns  17:11:18      Desc
                                                                                                LVNV Funding,      Main
                                                                                                              LLC its successors and assigns
C/O RESURGENT CAPITAL SVCS                         Document          Page
                                              assignee of Citibank USA, N. A.38   of 40         assignee of FNBM, LLC
PO BOX 10497 MS 576                             Resurgent Capital Services                        Resurgent Capital Services
GREENVILLE, SC 29603-0497                       PO Box 10587                                      PO Box 10587
                                                Greenville, SC 29603-0587                         Greenville, SC 29603-0587

MIDLAND CREDIT MANAGEMENT                       MIDLAND FUNDING LLC                               NATIONAL CREDIT ADJUSTERS
2365 NORTHSIDE DRIVE                            PO Box 2011                                       PO BOX 3023
SUITE 300                                       Warren, MI 48090-2011                             327 W 4TH ST.
SAN DIEGO, CA 92108-2709                                                                          HUTCHINSON, KS 67501-4842


NORTHSTAR LOCATION SERVICES, LLC                NTTA                                              National Credit Adjusters, LLC
4285 GENESEE ST                                 PO BOX 660244                                     Attn: Bankruptcy Department
CHEEKTOWAGA, NY 14225-1943                      DALLAS, TX 75266-0244                             P.O. Box 3023
                                                                                                  Hutchinson KS 67504-3023


ONE MAIN FINANCIAL                              Office of Attorney General                        One Main Financial
PO BOX 1010                                     Child Support Division                            3515 W. FM 120
EVANSVILLE, IN 47706-1010                       1600 Pacific, #700                                Ste. 120
                                                Dallas, TX 75201-3602                             Denison, Texas 75020-1556


OneMain                                         PASI                                              PHOENIX FINANCIAL SERVICES LLC
PO Box 3251                                     PO BOX 188                                        8902 OTIS AVENUE
Evansville, IN 47731-3251                       BRENTWOOD, TN 37024-0188                          SUITE 103
                                                                                                  INDIANAPOLIS, IN 46216-1009


(p)PORTFOLIO RECOVERY ASSOCIATES LLC            PRA Receivables Management, LLC                   PROFESSIONAL ACCT MGMT - NTTA
PO BOX 41067                                    PO Box 41021                                      PO BOX 866608
NORFOLK VA 23541-1067                           Norfolk, VA 23541-1021                            PLANO, TX 75086-6608



PROPATH                                         PYRAMID PAIN AND REHAB                            Melissa L. Palo
DEPT 41070                                      PO BOX 837                                        Linebarger Goggan Blair & Sampson LLP
PO BOX 660811                                   HOWE, TX 75459-0837                               2777 N. Stemmons Freeway, Suite 1000
DALLAS, TX 75266-0811                                                                             Dallas, TX 75207-2328


(p)PELLEY LAW OFFICE L L P                      Pelley Law Offices                                QUEST DIAGNOSTICS
905 NORTH TRAVIS STREET                         905 North Travis Street                           PO BOX 740779
SHERMAN TX 75090-5022                           Sherman, TX 75090-5022                            CINCINATTI, OH 45274-0779



QVC, INC                                        RECEIVABLE SOLUTIONS, INC                         REPUBLIC EMERGENCY SERVICES
1200 Wilson Dr                                  PO BOX 21808                                      500 N. HIGHLAND
WEST CHESTER, PA 19380-4262                     COLUMBIA, SC 29221-1808                           SHERMAN, TX 75092-7354



RICHARD D. JELSMA                               RMP                                               RS CLARK AND ASSOCIATES
425 N HIGHLAND                                  200 N. NEW ROAD                                   12990 PANDOARA DRIVE
SUITE 110                                       WACO, TX 76710-6932                               SUITE 150
SHERMAN, TX 75092-7383                                                                            DALLAS, TX 75238-5256
Reviver Financial, Case
                   LLC    17-42076   Doc 54 SCOTT
                                              Filed   05/16/19
                                                  & ASSOCIATES PC Entered 05/16/19 17:11:18      DescASSOCIATES
                                                                                      SHERMAN RADIOLOGY Main
Attn: Bankruptcy Department                     Document
                                            PO BOX 115220        Page 39 of 40        PO BOX 340
P.O. Box 3023                                CARROLLTON, TX 75011-5220                  SHERMAN, TX 75091-0340
Hutchinson KS 67504-3023


SOUTHWEST CREDIT                             SOUTHWEST LABORATORY LLC                   SPEEDY CASH
4120 INTERNATIONAL PKWY                      4225 OFFICE PARKWAY                        4726 S State Highway 91
SUITE 1100                                   DALLAS, TX 75204-3628                      DENISON, TX 75020-8010
CARROLLTON, TX 75007-1958


(p)SPRINGLEAF FINANCIAL SERVICES             SYNCHRONY BANK (ASHLEY HOME STORE)         Speedy/Rapid Cash
P O BOX 3251                                 C/O PO BOX 965036                          PO BOX 780408
EVANSVILLE IN 47731-3251                     ORLANDO, FL 32896-5036                     Wichita, KS 67278-0408



State Comptroller                            TEXAS RADIOLOGY ASSOCIATES LLP             TEXOMA CARE SPECIALTY PHYSICIANS
Capitol Station                              PO BOX 2285                                PO BOX 844693
Austin, TX 78711                             INDIANAPOLIS, IN 46206-2285                DALLAS, TX 75284-4693



TEXOMA EMERGENCY PHYSICIANS PL               TEXOMA HEART GROUP                         TEXOMA MEDICAL CENTER
PO BOX 8775                                  5026 POOL ROAD                             PO BOX 31001-0827
FORT WORTH, TX 76124-0775                    DENISON, TX 75020-2803                     PASADENA, CA 91110-0827



TEXOMA NEUROLOGY ASSOCIATES, P.A.            THE AFFILIATED GROUP                       THE MED
321 HIGHLAND                                 7381 AIRPORT VIEW DR SW                    PO BOX 848526
SUITE 210                                    ROCHESTER, MN 55902-1875                   DALLAS, TX 75284-8526
SHERMAN, TX 75092-7371


TIME WARNER CABLE                            Texas Comptroller of Public Accounts       Texas Employment Commission
60 Columbus Cir Fl 17                        c/o Office of the Attorney General         T.E.C. Bldg., Tax Dept.
NEW YORK, NY 10023-5860                      Bankruptcy - Collections Division MC-008   Austin, TX 78778-0001
                                             PO Box 12548
                                             Austin TX 78711-2548

U S Dept of Education/MOHELA                 U.S. Attorney                              U.S. Attorney General
633 Spirit Drive                             700 Nations Bank Tower                     Department of Justice
Chesterfield, Mo 63005-1243                  110 N. College Ave.                        Main Justice Building
                                             Tyler, TX 75702-7226                       10th & Constitution Ave., NW
                                                                                        Washington, DC 20530-0001

UNITED REVENUE CORP                          US ANESTHESIA PARTNERS                     US Trustee
204 BILLINGS ST                              BOX 830913                                 Office of the U.S. Trustee
STE 120                                      BIRMINGHAM, AL 35283-0913                  110 N. College Ave.
ARLINGTON, TX 76010-2495                                                                Suite 300
                                                                                        Tyler, TX 75702-7231

VITAL RECOVERY SERVICES, LLC                 Dominique M. Varner                        (p)VETERANS ADMINISTRATION
PO BOX 923748                                Hughes, Watters & Askanase                 PO BOX 11930
PEACHTREE CORNERS, GA 30010-3748             333 Clay, 29th Floor                       ST PAUL MN 55111-0930
                                             Houston, TX 77002-2571
                  Case
WALMART/SYNCHRONY BANK    17-42076
                       (WMA)               Doc 54 WALMART/SYNCHRONY
                                                    Filed 05/16/19         Entered 05/16/19 17:11:18
                                                                    BANK (WMG)                 WNJ WELLCAREDesc Main
PO BOX 965024                                         Document
                                                  PO BOX 530927         Page   40 of 40        600 N. HIGHLAND
ORLANDO, FL 32896-5024                                ATLANTA, GA 30353-0927                               SUITE 103
                                                                                                           SHERMAN, TX 75092-5631


Michael Weems
Hughes Watters Askanase
Total Plaza
1201 Louisiana St
28th Floor
Houston, TX 77002-5607


                    The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                    by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


DIRECT TV                                             DISCOVER                                             PORTFOLIO RECOVERY ASSOCIATES, LLC
2230 E Imperial Hwy                                   PO BOX 15316                                         PO BOX 12914
EL SEGUNDO, CA 90245                                  WILMINGTON, DE 19850                                 NORFOLK, VA 23541



Richard A. Pelley                                     (d)Portfolio Recovery Associates, LLC                SPRINGLEAF FINANCIAL SERVICES
905 N. Travis St                                      POB 41067                                            PO BOX 3251
Sherman, TX 75090                                     Norfolk VA 23541                                     EVANSVILLE, IN 47731-3251



Veterans Administration
701 Clay Ave.
Waco, TX 76706-1177




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(d)Atlas Acquisitions LLC                             (d)Grayson County                                    (d)Guild Mortgage Co.
294 Union St.                                         Linebarger Goggan Blair & Sampson LLP                P.O. Box 85046
Hackensack, NJ 07601-4303                             c/o Melissa L. Palo                                  San Diego, CA 92186-5046
                                                      2777 N. Stemmons Freeway
                                                      Suite 1000
                                                      Dallas, Tx 75207-2328
(d)Internal Revenue Service                           (d)MIDLAND CREDIT MANAGEMENT, INC.                   (d)PRA Receivables Management, LLC
P.O. Box 7346                                         2365 NORTHSIDE DRIVE                                 PO Box 41021
Philadelphia, PA 19101-7346                           SUITE 300                                            Norfolk, VA 23541-1021
                                                      SAN DIEGO, CA 92108-2709


(d)U.S. Attorney General                              (d)US Trustee                                        End of Label Matrix
Department of Justice                                 Office of the U.S. Trustee                           Mailable recipients   123
Main Justice Building                                 110 N. College Ave.                                  Bypassed recipients     8
10th & Constitution Ave., NW                          Suite 300                                            Total                 131
Washington, DC 20530-0001                             Tyler, TX 75702-7231
